       Case:18-11661-SDB Doc#:262 Filed:03/24/21 Entered:03/25/21 00:46:50                                                                 Page:1 of 6
                                                              United States Bankruptcy Court
                                                               Southern District of Georgia
In re:                                                                                                                 Case No. 18-11661-SDB
Lilo N. Benzicron                                                                                                      Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113J-1                                                  User: vwingfiel                                                             Page 1 of 4
Date Rcvd: Mar 22, 2021                                               Form ID: 318                                                              Total Noticed: 61
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 24, 2021:
Recip ID                   Recipient Name and Address
db                     +   Lilo N. Benzicron, 2926 Bransford Road, Augusta, GA 30909-3004
aty                    +   Andrew Alexander Murdison, Brennan, Wasden & Painter LLC, 801 Broad St., Suite 501, Augusta, GA 30901-1226
aty                    +   George B Cauthen, Nelson Mullins Riley & Scarborough, LLP, 1320 Main Street, 17th Floor, Columbia, SC 29201-3268
cr                     +   Barnwell County Economic Development Corporation, 367 Fuldner Road, Barnwell, SC 29812-7353
cr                     +   Boghos Babadjanian, c/o Armand Tinkerian, 135 S. State College Boulevard, Ste 200, Brea, CA 92821-5805
cr                         Kim Baker, 86 Chester Road, Chester, MA 01011-9735
cr                     +   Richard Barnes, 334 Fresh Meadows Road, Simi Valley, CA 93065-6817
cr                     +   Selvas, Inc., P.O. Box 9848, Savannah, GA 31412-0048
7517822                +   AU Medical Associates, P.O. Box 96153, Oklahoma City, OK 73143-6153
7226380                +   Barnwell County Economic, Development Authority, 367 Fuldner Road, Barnwell, SC 29812-7353
7239585                +   Boghos Babadjanian, c/o Armand Tinkerian, Esq., 135 S. State College Boulevard, Ste 200, Brea, California 92821-5805
7226382                +   Caine & Weiter, 12005 Ford RD, Dallas, TX 75234-7230
7226391                +   CrossRoads SA, LLC, 2801 Washington Road, Suite 104, #304, Augusta, GA 30909-2355
7226392                +   Doctors of Augusta, P.O. Box 203500, Austin, TX 78720-3500
7226394                    Gisele Beuzieron/Evelyne Teeman Trust, 36 Connifer Circle, Augusta, GA 30909
7254834                +   Griffin E. Howell, III, P. O. Box 2271, Griffin, GA 30224-0058
7226395                +   H. Pacheco/Lauren Pacheco, 7000 Apperson St #1, Tujunga, CA 91042-1867
7226396                +   Health Net CA, P.O. Box 748705, Los Angeles, CA 90074-8705
7254835                +   J. Martin Harvey, P. O. Box 705, Barnwell, SC 29812-0705
7514369                +   JPMorgan Chase Bank, N.A., s/b/m/t Chase Bank USA, N.A., c/o National Bankruptcy Services, LLC, P.O. Box 9013, Addison, Texas
                           75001-9013
7226397                +   Jacob Shalit, 8829 Shirley Ave, Northridge, CA 91324-3412
7226398                +   Kim Baker, 86 Chester, Chester, MA 01011-9735
7525696                    Kim Baker, 86 Chester Road, Middlefield, MA 01243
7255871                +   Kim Baker, c/o Lisa Wolgast, Esq., Morris, Manning & Martin, LLP, 3343 Peachtree Rd, NE, Suite 1600, Atlanta, GA 30326-1044
7226399                +   Kim Baker, c/o Todd & Weld, LLP, One Federal Street, Boston, MA 02110-2012
7226411                +   Klara Benzicron, 2926 Bransford Road, Augusta, GA 30909-3004
7226400               #+   Mourrissey Wilson & Zafiropoulos, LLP, 35 Braintree, Braintree, MA 02184-8727
7519582                    Peter M. Pearl, Esquire, Spilman Thomas & Battle PLLC, P. O. Box 90, Roanoke, VA 24002-0090
7290489                +   Selvas, Inc., Hunter Maclean Exley & Dunn P.C., P.O. Box 9848, Savannah, GA 31412-0048
7226405                +   Spartan Fiber, 2481 Clark Road, Inman, SC 29349-9724
7226406                +   Spilman Thomas & Battle, 300 Kanawha Blvd, East, P.O. Box 273, Charleston, WV 25321-0273
7519583                    Spilman Thomas & Battle PLLC, c/o Peter M. Pearl, Esquire, P. O. Box 90, Roanoke, VA 24002-0090
7226408                +   T N T Western Homes, Inc., 219 Station Ave, Ridgecrest, CA 93555-3839
7226409                +   The Sobelshon Law Firm, 16027 Ventura Blvd, Suite 502, Encino, CA 91436-2787
7518160                +   United States Attorney, P.O. Box 2017, Augusta GA 30903-2017
7226410                +   Wheels Financial Group, dba Loan Mart, P. O. Box 8075, Savannah, GA 31412

TOTAL: 36

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + EDI: QJEMITCHELLIII
                                                                                        Mar 22 2021 22:28:00      Joseph E. Mitchell, III, Trustee, Joseph E.
                                                                                                                  Mitchell, III, P.C., P O Box 2504, Augusta, GA
      Case:18-11661-SDB Doc#:262 Filed:03/24/21 Entered:03/25/21 00:46:50                                               Page:2 of 6
District/off: 113J-1                                        User: vwingfiel                                                    Page 2 of 4
Date Rcvd: Mar 22, 2021                                     Form ID: 318                                                     Total Noticed: 61
                                                                                                30903-2504
7273486            Email/Text: paula.tilley@nrsagency.com
                                                                         Mar 22 2021 18:56:00   AU MEDICAL ASSOCIATES, C/O
                                                                                                NATIONWIDE RECOVERY SERVICE, PO
                                                                                                BOX 8005, CLEVELAND, TN 37320-8005
7242749            EDI: BECKLEE.COM
                                                                         Mar 22 2021 22:28:00   American Express National Bank, c/o Becket and
                                                                                                Lee LLP, PO Box 3001, Malvern PA 19355-0701
7226379         + EDI: AMEREXPR.COM
                                                                         Mar 22 2021 22:28:00   Amex, P. O. Box 297871, Fort Lauderdale, FL
                                                                                                33329-7871
7226381         + EDI: CITICORP.COM
                                                                         Mar 22 2021 22:28:00   Bloomlndales, 9111 Duke Blvd, Mason, OH
                                                                                                45040-8999
7226407            EDI: CALTAXFEE
                                                                         Mar 22 2021 22:28:00   State Board of Equalization, P.O. Box 942879,
                                                                                                Sacramento, CA 94279
7256377            EDI: CALTAXFEE
                                                                         Mar 22 2021 22:28:00   California Department of Tax and Fee,
                                                                                                Administration, P. O. Box 942879, Sacramento,
                                                                                                CA 94279-0055
7226387         + EDI: CITICORP.COM
                                                                         Mar 22 2021 22:28:00   Citi Cards, P.O. Box 6241, Sioux Falls, SD
                                                                                                57117-6241
7226388         + Email/Text: bankruptcy@credencerm.com
                                                                         Mar 22 2021 19:00:00   Credence, 17000 Dallas Parkway #204, Dallas, TX
                                                                                                75248-1940
7226389         + EDI: CCS.COM
                                                                         Mar 22 2021 22:28:00   Credit Collection Services, 725 Canton Street,
                                                                                                Norwood, MA 02062-2679
7226390         + Email/PDF: creditonebknotifications@resurgent.com
                                                                         Mar 22 2021 20:01:21   Credit One Bank, P.O. Box 98875, Las Vegas, NV
                                                                                                89193-8875
7510256         + Email/PDF: resurgentbknotifications@resurgent.com
                                                                         Mar 22 2021 20:01:37   Doctors Hospital Of Augusta, Resurgent Capital
                                                                                                Services, PO Box 1927, Greenville, SC
                                                                                                29602-1927
7226393         + Email/Text: bknotice@ercbpo.com
                                                                         Mar 22 2021 18:59:00   Enhanced Recovery Collection, 8014 Bayberry
                                                                                                Road, Jacksonville, FL 32256-7412
7236740         + EDI: IRS.COM
                                                                         Mar 22 2021 22:28:00   INTERNAL REVENUE SERVICE, P O BOX
                                                                                                7346, 2970 MARKET STREET,
                                                                                                PHILADELPHIA, PA. 19104-5002
7226383            EDI: JPMORGANCHASE
                                                                         Mar 22 2021 22:28:00   Chase Explorer, P.O. Box 15298, Wilmington, DE
                                                                                                19850
7226384            EDI: JPMORGANCHASE
                                                                         Mar 22 2021 22:28:00   Chase Freedom, P.O. Box 15298, Wilmington, DE
                                                                                                19850
7226385            EDI: JPMORGANCHASE
                                                                         Mar 22 2021 22:28:00   Chase Hyatt, P.O. Box 15298, Wilmington, DE
                                                                                                19850
7226386            EDI: JPMORGANCHASE
                                                                         Mar 22 2021 22:28:00   Chase Southwest, P.O. Box 15298, Wilmington,
                                                                                                DE 19850
7250114            Email/PDF: resurgentbknotifications@resurgent.com
                                                                         Mar 22 2021 20:01:34   LVNV Funding, LLC, Resurgent Capital Services,
                                                                                                PO Box 10587, Greenville, SC 29603-0587
7226401         + EDI: RMSC.COM
                                                                         Mar 22 2021 22:28:00   Paypal Credit, P.O. Box 105658, Atlanta, GA
                                                                                                30348-5658
7226402         + Email/Text: ecfbankruptcy@progleasing.com
                                                                         Mar 22 2021 18:59:00   Progressive Leasing, 256 West Data Drive,
                                                                                                Draper, UT 84020-2315
7270650         + Email/Text: bncmail@w-legal.com
                                                                         Mar 22 2021 18:59:00   SYNCHRONY BANK, c/o Weinstein & Riley,
                                                                                                PS, 2001 Western Ave., Ste 400, Seattle, WA
                                                                                                98121-3132
7226403         + Email/Text: DOSDOC_BANKRUPTCY@STATE.DE.US
                                                                         Mar 22 2021 19:02:00   Secretary of State, Division of Corporation, P.O.
                                                                                                Box 898, Dover, DE 19903-0898
7226404         + Email/Text: rblanco@kringandchung.com
                                                                         Mar 22 2021 18:59:00   Selvas, Inc., c/o Kring and Chung, LLP, 38
                                                                                                Corporate Park, Irvine, CA 92606-5105
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Date Rcvd: Mar 22, 2021                                            Form ID: 318                                                          Total Noticed: 61
7410322                 + EDI: RMSC.COM
                                                                                    Mar 22 2021 22:28:00    Synchrony Bank c/o PRA Receivables
                                                                                                            Management, LLC, PO Box 41021, Norfolk, VA
                                                                                                            23541-1021

TOTAL: 25


                                                     BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID           Bypass Reason Name and Address
7525764                          Barnwell County Economic Development Corporation
cr                 *             Internal Revenue Service, P O Box 7346, Philadelphia, PA 19101-7346
cr                 *+            Synchrony Bank, c/o PRA Receivables Management, LLC, PO Box 41021, Norfolk, VA 23541-1021
7245188            *             American Express National Bank, c/o Becket and Lee LLP, PO Box 3001, Malvern PA 19355-0701
7262889            *+            Internal Revenue Service, P.O. Box 7346, Philadelphia, PA 19101-7346
7514944            *+            JPMorgan Chase Bank, N.A., s/b/m/t Chase Bank USA, N.A., c/o National Bankruptcy Services, LLC, P.O. Box 9013, Addison,
                                 Texas 75001-9013
7514988            *+            JPMorgan Chase Bank, N.A., s/b/m/t Chase Bank USA, N.A., c/o National Bankruptcy Services, LLC, P.O. Box 9013, Addison,
                                 Texas 75001-9013
7515356            *+            JPMorgan Chase Bank, N.A., s/b/m/t Chase Bank USA, N.A., c/o National Bankruptcy Services, LLC, P.O. Box 9013, Addison,
                                 Texas 75001-9013

TOTAL: 1 Undeliverable, 7 Duplicate, 0 Out of date forwarding address


                                                    NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 24, 2021                                         Signature:          /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 22, 2021 at the address(es) listed
below:
Name                               Email Address
Andrew A. Murdison
                                   on behalf of Plaintiff Kim Baker amurdison@murdisonlaw.com

Charles W. Wills
                                   on behalf of Creditor Richard Barnes charles@willslawfirmllc.com WillsJR95808@notify.bestcase.com

Francesca Macchiaverna
                                   on behalf of Creditor Selvas Inc. fmacchiaverna@huntermaclean.com, btees@huntermaclean.com;aharris@huntermaclean.com

George Barry Cauthen
                                   on behalf of Creditor Barnwell County Economic Development Corporation george.cauthen@nelsonmullins.com

Gregory M. Taube
                                   on behalf of Creditor Barnwell County Economic Development Corporation greg.taube@nelsonmullins.com
                                   ayo.uboh@nelsonmullins.com;pat.stanley@nelsonmullins.com

James C. Overstreet, Jr.
                                   on behalf of Defendant Lilo N. Benzicron jco@klosinski.com 4978@notices.nextchapterbk.com

James C. Overstreet, Jr.
                                   on behalf of Debtor Lilo N. Benzicron jco@klosinski.com 4978@notices.nextchapterbk.com
       Case:18-11661-SDB Doc#:262 Filed:03/24/21 Entered:03/25/21 00:46:50                                                         Page:4 of 6
District/off: 113J-1                                                 User: vwingfiel                                                   Page 4 of 4
Date Rcvd: Mar 22, 2021                                              Form ID: 318                                                    Total Noticed: 61
Jason Wendell Blanchard
                                   on behalf of Creditor Internal Revenue Service jason.blanchard@usdoj.gov USAGAS.ECFBankruptcyAUG@usdoj.gov

Joseph E. Mitchell, III, Trustee
                                   mitchellje@bellsouth.net jemitchell@ecf.axosfs.com;notices.jempc@gmail.com;jemiiipc@gmail.com

Matthew E. Mills
                                   on behalf of U. S. Trustee Office of the U. S. Trustee ustpregion21.sv.ecf@usdoj.gov

Office of the U. S. Trustee
                                   Ustpregion21.sv.ecf@usdoj.gov


TOTAL: 11
  Case:18-11661-SDB Doc#:262 Filed:03/24/21 Entered:03/25/21 00:46:50                                                 Page:5 of 6
Information to identify the case:
Debtor 1              Lilo N. Benzicron                                              Social Security number or ITIN     xxx−xx−4194
                      First Name   Middle Name   Last Name                           EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                             Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                     EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Southern District of Georgia

Case number: 18−11661−SDB


Order of Discharge                                                                                                                 12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

                                   Lilo N. Benzicron
                                   aka Lilo Beuzieron




                                                                        Susan D. Barrett
                                                                        United States Bankruptcy Judge
                                                                        Federal Justice Center
                                                                        600 James Brown Blvd
                                                                        P.O. Box 1487
                                                                        Augusta, GA 30903
Dated: 3/22/21

Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case, and it does                  This order does not prevent debtors from paying any debt
not determine how much money, if any, the trustee will pay                  voluntarily or from paying reaffirmed debts according to the
creditors.                                                                  reaffirmation agreement. 11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any attempt to                        Most debts are discharged
collect a discharged debt from the debtors personally. For                  Most debts are covered by the discharge, but not all.
example, creditors cannot sue, garnish wages, assert a                      Generally, a discharge removes the debtors' personal
deficiency, or otherwise try to collect from the debtors                    liability for debts owed before the debtors' bankruptcy case
personally on discharged debts. Creditors cannot contact                    was filed.
the debtors by mail, phone, or otherwise in any attempt to
collect the debt personally. Creditors who violate this order               Also, if this case began under a different chapter of the
can be required to pay debtors damages and attorney's                       Bankruptcy Code and was later converted to chapter 7,
fees.                                                                       debts owed before the conversion are discharged.
However, a creditor with a lien may enforce a claim against                 In a case involving community property: Special rules
the debtors' property subject to that lien unless the lien was              protect certain community property owned by the debtor's
avoided or eliminated. For example, a creditor may have                     spouse, even if that spouse did not file a bankruptcy case.
the right to foreclose a home mortgage or repossess an
automobile.
                                                                                           For more information, see page 2 >




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Some debts are not discharged                                    Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:                   agreement are not discharged.

      ♦ debts that are domestic support                          In addition, this discharge does not stop
        obligations;                                             creditors from collecting from anyone else who is
                                                                 also liable on the debt, such as an insurance
                                                                 company or a person who cosigned or
      ♦ debts for most student loans;                            guaranteed a loan.


      ♦ debts for most taxes;
                                                                  This information is only a general summary
      ♦ debts that the bankruptcy court has                       of the bankruptcy discharge; some
        decided or will decide are not discharged                 exceptions exist. Because the law is
        in this bankruptcy case;                                  complicated, you should consult an
                                                                  attorney to determine the exact effect of the
                                                                  discharge in this case.
      ♦ debts for most fines, penalties,
        forfeitures, or criminal restitution
        obligations;

      ♦ some debts which the debtors did not
        properly list;


      ♦ debts for certain types of loans owed to
        pension, profit sharing, stock bonus, or
        retirement plans; and


      ♦ debts for death or personal injury caused
        by operating a vehicle while intoxicated.




Because no party in interest filed a request for an order of dismissal pursuant to 11 U.S.C. § 521(i)(2), the Debtor(s)
was not required to file any further document pursuant to §521(a)(1)(B) to avoid an automatic dismissal and this case
is not and was not subject to automatic dismissal under §521(i)(1). This does not prevent any party in interest from
requesting by motion that Debtor(s) supply further information described in § 521(a)(1)(B), and this does not prevent
the United States Trustee or Chapter 7 Trustee from requesting by any authorized means, including but not limited to
motion, that the Debtor supply further information.




Official Form 318                               Order of Discharge                                    page 2
